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                                  AMY L. THOMPSON, ESQ. Bar No. 11907
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                                         athompson@littler.com
                              6
                                  Attorneys for Defendant
                              7   T-MOBILE USA, INC.
                              8                                UNITED STATES DISTRICT COURT
                              9
                                                                       DISTRICT OF NEVADA
                        10

                        11
                                  TERI P. VILLAFANA,                                    Case No. 2:21-cv-00661-GMN-DJA
                        12
                                                 Plaintiff,
                        13                                                             STIPULATION AND PROPOSED
                                  v.                                                   ORDER RELATED TO T-MOBILE’S
                        14                                                             PENDING MOTION TO DISMISS
                                  T-MOBILE USA, INC., a foreign Corporation            AMENDED COMPLAINT (ECF No. 25)
                        15        licensed to do business in Nevada,
                        16                       Defendant.
                        17

                        18

                        19               Defendant T-MOBILE USA, INC. (“Defendant”) and Plaintiff TERI P. VILLAFANA
                        20        (“Plaintiff”) (collectively, the “Parties”), through their respective counsel, file this Stipulation and
                        21        Order related to T-Mobile’s pending Motion to Dismiss Amended Complaint (ECF No. 25).
                        22               On November 10, 2021, the United States Bankruptcy Court entered an order denying Plan
                        23        Confirmation and dismissing Plaintiff’s Chapter 13 bankruptcy case. A copy of this order is
                        24        attached as Exhibit A. T-Mobile’s pending Motion to Dismiss contains arguments directly related
                        25        to Plaintiff’s bankruptcy. Mot. Dismiss at § III(B-C), p.6:18-10:3. In light of the November 10,
                        26        2021, order dismissing Plaintiff’s bankruptcy and denying plan confirmation, the parties have
                        27        agreed and stipulate that the Defendant’s arguments related to Plaintiff’s bankruptcy contained in
                        28
LITTLER MENDELSON P.C.
 3960 Howard Hughes Parkway
          Suite 300
  Las Vegas, NV 89169.5937
        702.862.8800
                                  Case 2:21-cv-00661-GMN-DJA Document 39 Filed 11/19/21 Page 2 of 6



                              1   Defendant’s Motion to Dismiss at Sections III(B-C), p.6:18-10:3, be withdrawn without
                              2   prejudice. Defendant shall retain the right to file the same or similar arguments at a later time
                              3   if it deems appropriate to do so. Defendant shall further retain the right to conduct discovery on
                              4   these issues in accordance with the applicable rules of civil procedure.        The remainder of
                              5   Defendant’s Motion to Dismiss shall stand as submitted.
                              6            This stipulation is made in good faith and not for purpose of delay.
                              7

                              8    Dated: November 18, 2021                         Dated: November 18, 2021
                              9    Respectfully submitted,                          Respectfully submitted,
                        10

                        11         /s/ Mary F. Chapman, Esq.                       /s/ Amy L. Thompson, Esq.
                                   MARY F. CHAPMAN, ESQ.                           MONTGOMERY Y. PAEK, ESQ.
                        12         LAW OFFICE OF MARY F. CHAPMAN,                  AMY L. THOMPSON, ESQ.
                                   LTD.                                            LITTLER MENDELSON, P.C.
                        13
                                   Attorney for Plaintiff                           Attorneys for Defendants
                        14         TERI P. VILLAFANA
                        15

                        16                                                     IT IS SO ORDERED.

                        17                                                                 19 day of November, 2021.
                                                                               Dated this ____

                        18

                        19
                                                                               ___________________________
                        20                                                     Gloria M. Navarro, District Judge
                                  4862-9292-8772.1 / 066431-1088               UNITED STATES DISTRICT COURT
                        21

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                        28
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  Las Vegas, NV 89169.5937                                                          2
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                          Exhibit Index

Exhibit A – November 10, 2021 Order Denial of Confirmation and
            Dismissing Case
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             EXHIBIT A
     November 10, 2021 Order Denial of
     Confirmation and Dismissing Case




             EXHIBIT A
           Case 2:21-cv-00661-GMN-DJA Document 39 Filed 11/19/21 Page 5 of 6


 1

 2

 3                                                           Honorable August B. Landis
                                                            United States Bankruptcy Judge
4
        Entered on Docket
5       November JO. 2021

6

7
      KATHLEEN A. LEAVITT
8     CHAPTER13 BANKRUPTCYTRUSTEE
     711 S 4th Street Suite101
9      Las Vegas, NV 89101
      (702) 853-0700
10    kal13 mail@l as13.com
                               UNITED STATES BANKRUPTCYCOURT
11                                    DISTRICT OF NEVADA

12   IN RE:                                                        Chapter13
                                                                   Cas e No: 21-13198- ABL
13
     TERI PATRECE V ILLAFANA                                       ORDER DENIAL OF CONFIRMATION AND
14
                                                                   DISMISSING CASE
15
                                                                   Hearing Date: 11/04/2021
                                Debtor                             Hearing Time: 1 :30 pm
16

17       The Trustee's Opposition to Confirmation of Plan Combined with Trustee's Recommendation of

18   Dismissal filed in the above-captioned matter having on for hearing, the following parties have appeared:

19   [X] Trustee [ ] Debtor [ ] Attorney for Debtor [X] Other Debtor's counsel communicated with the Trustee's

20   office prior to the hearing, but did not appear at the hearing, and said Motion having been considered by this

21   Court, and good cause appearing therefore;

22

23       IT IS HEREBY ORDERED that confirmation of the Plan is denied and that the above-captioned

24   proceedings under Chapter 13 be DISMISSED for the following reason(s):

25               • Other Reason: failure to resolve Trustee's Opposition to Confirmation (Docket No. 25)
           Case 2:21-cv-00661-GMN-DJA Document 39 Filed 11/19/21 Page 6 of 6


 1

 2   DATED: 11/0912021

3    Submitted by:

 4    Isl KATHLEEN A. LEAVITT
     Kathleen A. Leavitt
 5   Chapter 13 Trustee
     (dgt)
 6
      LR 9021 CERTIFICATION:
 7
      In accordance with LR 9021, counsel submitting this document certifies that the order
 8    accurately reflects the court's ruling and that:

 9    _ The court has waived the requirement set forth in LR 9021 (b)(1 ).

10    _x_ No party appeared at the hearing or filed an objection to the motion.

      _ I have delivered a copy of this proposed order to all counsel who appeared at the hearing,
11
      and each has approved or disproved the order, or failed to respond, as indicated below:
12
                                                              Approved:
13                                                            Disapproved:
                                                              Failed to Respond:
14
     _ I certify that this is a case under chapter 7 or 13, that I have served a copy of this order
15   with the motion pursuant to LR 9014(g), and that no party has objected to the form or content
     of the order.
16

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